IN THE UNiTED STATES `DISTR]CT COURT
FOR THE WESTERN DISTR|CT OF VIRGINIA
LYNCHBURG DlVlSION

JOHN DOE,
P|aintift`,

v. Case No.: 6:i4 - cv00052 - NKM

WASHING']`ON AND _LE'EUNIVERSETY,
Dei`endant.

AFFIBAVIT ()F TAMMI SIMPSON

Tammi Simpson, being first duly sworn, deposes and states as follows for her
Afiidavit:

l. I am over twenty~one (ZI) years of age, and arn under no legal or mentai
disability or defect, am competent to be a witness, and have personal knowledge ot` the
facts set forth herein.

2. My name is Tammi Simpson, and 1 am Associate Deaa of Students and
Dean ofiunioi's at Washington and Lee University, a position which l have held since
approximately lone 2014.

3. F:'om approximately Nlane 20f4 through Juiy 2015, l also served as the
Chair of the Washington and free Universit$r Student Facuity Hearing Board (“SPi-IB”),
which hears and adjudicates allegations of prohibited Student discrimination, harassment,
sexual misconduct, hazing by individuals and retaliation

4. Following the conclusion of the SFHB’s role in any particular charge, it
Was standard procedure i`or me to collect hard copy documents related to the case from

SFHB members, the parties, and their representatives The purpose of this procedure is

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EXHIBIT C

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to limit the circulation of potentially sensitive student information and protect the
confidentiality of die proceedings, as well as to ensure that Washington and Lee
University maintains an official tile as required by the Department oi` Education’s Oftice
of Civii Rights, and to ensure that the official tile is maintained in a centralized location.
A review of this procedure is part of the training that all SFHB members undergo before
they serve on the SFHB.

5. l During my time as SFHB Chair, the case of John Doe, which is at issue in
the above-captioned matter, came before the SFHB.

6. In accordance With standard procedure, at the conclusion ofJohn Doe’s
SFHB hearing, l reminded ali SFHB members, parties and their representatives to give
rne any and all documents related to the case-.

7. At`ter l had collected the documents, but before I had an opportunity to
destroy all but the official tile documents per the procedure l received a litigation hold
notice from Wasiiington and Lee’s general counsei, stating that litigation was anticipated
regarding this matter, and instructing me to preserve all records. l received the litigation
hold notice on or about December 13, 2015. l acted in accordance with thatiitigation
hold notice, and did not destroy any documents, which have since been provided to

Was_hington and Lee’s counsei in this litigation

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Further your affiant sayeth not.

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)“"'"fammi Simpson f

 

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The foregoing instrumet sacknowledged before me by 'i`arnmi Simpson, in
the aforesaid jurisdiction this l__ day of.lanuary, 2016, for the purposes contained
therein.

lA,>i/u a add rla ddtqu
Notari' Public

My Cornmission expires: al {E)' ii C;)D`q

 

Registration No.: w

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